Case 18-12343-JDW      Doc 44    Filed 01/25/21 Entered 01/25/21 15:07:09         Desc Main
                                Document      Page 1 of 1

____________________________________________________________________________
                                                SO ORDERED,




                                                Judge Jason D. Woodard
                                                United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                 CHAPTER 13 CASE NO.:
CLAYTON PRINCE and
BRENDA PRINCE                                                     18-12343-JDW

               ORDER GRANTING MOTION TO DISMISS (DKT. #39)
       THIS MATTER came before the Court on the Motion to Dismiss (Dkt. #39)
(the “Motion”) filed by Locke D. Barkley, Chapter 13 Trustee (the “Trustee”), and
the response thereto filed by the Debtors (Dkt. #41). Both the Debtors’ counsel and
the Debtors were present in defense of the Motion. The Court does hereby order as
follows:
       IT IS ORDERED that the Motion shall be and is hereby granted and this
case shall be and is hereby dismissed.
                                   ##END OF ORDER##
SUBMITTED BY:

/s/ Melanie T. Vardaman
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